                 Case: 2:18-cr-00075-ALM Doc #: 133 Filed: 10/16/18 Page: 1 of 7 PAGEID #: 571
AO 24SB(Rev. 02/18) Judgmentin a CriminalCase
                     Sheet 1




                                        United States District Court
                                                           Southern District of Ohio
                                                                         )
             UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                         )
                                 V.
                                                                         )
                         Jason J. Delcol
                                                                         )         Case Number: CR2-18-75(1)
                                                                         )
                                                                         )         USM Number: 77404-061
                                                                         )
                                                                         )
                                                                                   Todd Long
                                                                                   Defendant's Attorney
                                                                         )
THE DEFENDANT:

EH pleaded guilty tocount(s)          One (1 ),Two (2) &Three (3)
• pleaded nolo contendere tocount(s)
   which was accepted by the court.
• was found guilty oncount(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses;

Title & Section                  Nature of Offense                                                            Offense Ended           Count




 (b)(1 )(C), 860(a) and           distribute controlled substances within 1,000 feet of a Public



        The defendant issentenced as provided inpages 2 through                1          of this judgment. The sentence is imposed piu^uant to
the Sentencing Reform Act of 1984.
n The defendant has been found not guilty on coimt(s)
• Count(s)                                             •    is   • are dismissed on the motion of the United States.

         It IS ordered that the defendant must notify the United States attomey forthis district within 30days ofany change ofname, residence,
orniailing address imtil all fines, restitution, costs, and special assessments imposed bythis judgment are fully paid. Ifordered topay restitution,
thedefendant must notify thecourt and United States attomey of material changes in economic circumstances.

                                                                         10/12/2018
                                                                        Date oflmposition of Judgment




                                                                         gnatureofJudg




                                                                        Algenon L. Marbley - U.S.DIstrict Judge
                                                                        Name and Title ofJudge


                                                                                                              2/0/^
                                                                        Date                              '
                Case: 2:18-cr-00075-ALM Doc #: 133 Filed: 10/16/18 Page: 2 of 7 PAGEID #: 572
AO 24SB (Rev. 02/18)    Judgment in a Criminal Case
                        Sheet IA

                                                                                                         Judgment—Page                of    T
DEFENDANT:             Jason J. Delcol
CASE NUMBER: CR2-18-75(1)

                                                     ADDITIONAL COUNTS OF CONVICTION

Title & Section                               Nature of Offense                                Offense Ended                        Count

18i!ijS.C.§i612(|)|3)                         Witlress tamperin'g


26 UJ

(d). 5871                                     unregistered silencer                                8/9/2017                         Three


                                                                              --   ,




                                                        . ^I'Tfc*,
                                                                                                                              •k|k

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                                                    •3..;
                                                                                             "If




                                  , /•[




                              .           Y




                              J!

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                              '•'T-                                                                 •'    'If i
                              ..j'•'
                Case: 2:18-cr-00075-ALM Doc #: 133 Filed: 10/16/18 Page: 3 of 7 PAGEID #: 573
AO245B (Rev. 02/18) Judgment in Criminal Case
                      Sheet 2 — Imprisonment

                                                                                                       Judgment— Page        of
 DEFENDANT: Jason J. Delcol
CASE NUMBER: CR2-18-75(1)

                                                             IMPRISONMENT

           The defendant is hereby committed to the custody ofthe Federal Bureau ofPrisons to be imprisoned for atotal
term of:

 Twenty-Four (24) months on each ofcounts 1.2 &3 to run concurrently with each other.



     BZl The court makes the following recommendations to the Bureau ofPrisons:
 that thedefendant participate in the RDAP program and participate in psychiatric and/or psychological counseling.



     EZl The defendant isremanded to the custody ofthe United States Marshal.

     •   The defendant shall surrender to the United States Marshal for this district:

         •     at                                •    a.m.     •    p.m.        on                                       .
         •     as notifiedby the United States Marshal.

     •   The defendantshall surrender for service of sentence at the institutiondesignated by the Bureau of Prisons:
         •     before 2 p.m.on                                             .
         •     as notified by the United States Marshal.
         •     as notified by the Probation or Pretrial Services Office.


                                                                   RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                         to


at                                                   , with a certified copy of this Judgment.



                                                                                                    UNITED STATES MARSHAL




                                                                               By
                                                                                                 DEPUTY UNITED STATES MARSHAL
               Case: 2:18-cr-00075-ALM Doc #: 133 Filed: 10/16/18 Page: 4 of 7 PAGEID #: 574
AO24SB (Rev. 02/18) Judgment in a Criminal Case
                        Sheet 3—Supervised Release
rM-i-r'vir-. » v.^                                                                                         Judgment—Page   of
DEFENDANT: Jason J. Delcol
CASE NUMBER: CR2-18-75(1)
                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release fora term of:
 Three (3) Years oneachofcounts 1,2 &3 to run concurrently with each other. As a special condition ofsupervised release
 thedefendant shall participate in a program oftesting for alcohol and controlled substance, participate in a program of
 mental health counseling and treatment as directed by the U.S. Probation Officer, until such time as the defendant is
 released from the said programs by the U.S. Probation Office. The defendant will make a co-payment fortreatment
 services not to exceed $25 per month, per program, which Isdetermined bythe defendant's ability to pay.
 2. The defendant shall obtain employmentas directed by his probation officer, which Is outside of any law enforcement
 capacity, which includes but is not limited to, llcensure as a security guard, private investigator, or any field receiving
 compensation from employment Involving law enforcement.




                                                       MANDATORY CONDITIONS


1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawfril use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
     imprisonment andat least twoperiodic drugtests thereafter, as determined by thecourt.
            • Theabove drugtesting condition is suspended, based on thecourt's determination thatyou
                     pose a low risk of friture substance abuse, (check (fapplicable)
4.      Q You must make restitution inaccordance with 18 U.S.C. §§ 3663 and 3663A orany other statute authorizing a sentence of
            restitution, (check ifapplicable)
5.        You must cooperate inthecollection of DNA as directed bytheprobation officer, (check ifapplicable)
6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, el seq.) as
            directed by the probation officer, the Bureau ofPrisons, orany state sex offender registration agency inthe location where you
            reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
7.      •   Youmustparticipate in an approved program fordomestic violence, (check ifapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
              Case: 2:18-cr-00075-ALM Doc #: 133 Filed: 10/16/18 Page: 5 of 7 PAGEID #: 575
 AO245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3A —Supervised Release
                                                                                              Judstnent—Paee                 of
DEFENDANT: Jason J. Delcol
CASE NUMBER: CR2-18-75(1)

                                      STANDARD CONDITIONS OF SUPERVISION
As part ofyotir supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements inyour conduct and condition.
1.   You must report to the probation office in the federal judicial district where you areauthorized to reside within 72hours ofyour
     release from imprisonment, unless the probation officerinstructs youto reportto a different probation office or within a different time
     frame.
2.   Afterinitially reporting to the probationoffice, you will receive instructions fromthe court or the probation officerabout how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change, if notifying
     the probationofficer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware ofa change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere,and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   Youmustwork full time(at least 30 hours per week) at a lawful typeof employment, unless the probation officerexcuses you from
     doing so. If you do nothave full-time employment you must tiy to find fiill-time employment, unless theprobation officer excuses
     you from doing so.If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. Ifnotifying the probation officer at least 10
     days inadvance isnot possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a changeor expectedchange.
8.   You must notcommunicate or interact withsomeone you know is engaged in criminal activity. If youknow someone hasbeen
     convicted of a felony, you must notknowingly communicate or interact with that person without first getting thepermission of the
     probation officer.
9. Ifyou are arrested orquestioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, orhave access toa firearm, ammunition, destructive device, ordangerous weapon (i.e., anything that was
    designed, orwas modified for, the specific purpose ofcausing bodily injury ordeath to another person such as nunchakus ort^ers).
11. You must not act ormake any agreement with a law enforcement agency toact as a confidential human source orinformant without
     first gettingthe permissionof the court.
12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person andconfirm thatyouhave notified the person about therisk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
AU.S. probation officer has instructed me on the conditions specified by the court and has provided me with awritten copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscoiu1s.eov.


Defendant's Signature                                                                                    Date
              Case:
AO24SB (Rev. 02/18)    2:18-cr-00075-ALM
                    Judgment in a Criminal Case         Doc #: 133 Filed: 10/16/18 Page: 6 of 7 PAGEID #: 576
                       Sheet 5 —Criminal Monetary Penalties
                                                                                                                 Judgment — Page                      of
DEFENDANT: Jason J. Delcol
CASE NUMBER: CR2-18-75(1)
                                               CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties underthe schedule of payments on Sheet6.

                        Assessment                  JVTA Assessment*                      Fine                           Restitution
TOTALS               $ 300.00                                                         S                              S



•       The determination of restitution is deferred until                        An Amended Judgment in a Criminal Case(A024SC) will be entered
        after such determination.


•       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If thedefendant makes a partial payment, each payee shall receive anapproximately proportioned payment, unless specified otheiwisc in
              • • order
        the priority  • or percentage payment column
                                                   ' mn below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is paid.

Name of Payee                                                              Total Loss**                  Restitution Ordered               Priority or Percentage
                                                                                             mh:, \ r-iW                           I I-
                                                                                                                                   :   I    •'3^* ^




                                            _i',              J


                                                        ir                                       iil.... M
                                                                                                 ••I i




                                                   . . . . l i ' - :J                                •
                                     s                                0.00                                       0.00
 TOTALS



 •       Restitution amount ordered pursuant to plea agreement $

 •       The defendant must pay interest on restitution and afine ofmore than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. §3612(f). All ofthe payment options on Sheet 6may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).
    •    The court determined that the defendant does not have the ability to pay interest and itisordered that:
          •   the interest requirement is waived for the          •        fine   •   restitution.
          •   the interest requirement for the      •    fine          •     restitution is modified as follows:

    ** HndLp'for tfi™tote^l amou^^
    after September 13,1994, but before April 23,1996.
                                                                  under Chapters 109A, 110,1 lOA, and 113A ofTitle 18 for offenses committed on or
               Case:
AO 24SB (Rev. 02/18)     2:18-cr-00075-ALM
                     Judgment in a Criminal Case      Doc #: 133 Filed: 10/16/18 Page: 7 of 7 PAGEID #: 577
                      Sheet6 — Schedule of Payments
                                                                                                            Judgment — Page             of

DEFENDANT: Jason J. Delcol
CASE NUMBER: CR2.18.75(1)


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, paymentof the total criminalmonetarypenalties is due as follows:

A 83 Lump sum payment ofS 300.00                              due immediately, balance due
            •     not later than                                   ,or
            •     in accordance with DC,          •    D,     •    E, or     •   F below; or

B    •      Payment to begin immediately(may be combinedwith               DC,         • D, or       • F below); or

C    •      Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

D    •      Payment in equal                       (e.g., weekly, monthly, quarterly) installments of S                         over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days)after release from imprisonment to a
            term ofsupervision; or

E    •      Paymentduring the term ofsupervised release will commence within                   (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the paymentplan based on an assessment of the defendant's ability to pay at that time; or

F    •      Special instructions regarding the payment ofcriminal monetarypenalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



•    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (includingdefendant number). Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




•    The defendantshall pay the cost of prosecution.

•    The defendantshall pay the following court cost(s):

E) The defendant shall forfeit the defendant's interest inthe following property to the United States:
         the silencer and firearm as listed in the Forfeiture allegation.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (S) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
